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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
                                                        :
In re                                                   :   Chapter 11
                                                        :
EMC HOTELS AND RESORTS, LLC,                            :
                                                        :   Case No. 18-22932 (RDD)
                                                        :
                           Debtor.                      :
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                            NOTICE OF APPOINTMENT OF TRUSTEE

    To: Fred Stevens, Esq.,

           You are hereby notified of your appointment as Chapter 11 trustee of the estate of

    the above-captioned Debtor, subject to Court approval.


Dated: New York, New York
       July 25, 2018                                Respectfully submitted,

                                                            WILLIAM K. HARRINGTON
                                                            UNITED STATES TRUSTEE, REGION 2

                                                    By:     /s/ Paul K. Schwartzberg
                                                            Andrea Schwartz
                                                            Paul Schwartzberg
                                                            Trial Attorneys
                                                            Office of the United States Trustee
                                                            201 Varick Street, Room 1006
                                                            New York, NY 10014
                                                            (212) 510 0500




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